                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

                                                      )
TRACEY K. KUEHL, et al.,                              )   Case No. C14-02034-JSS
                                                      )
                     Plaintiffs,                      )   PLAINTIFFS’ SECOND
       v.                                             )   MOTION IN LIMINE
                                                      )   REGARDING THE
PAMELA SELLNER, et al.,                               )   AUTHENTICITY AND
                                                      )   ADMISSIBILTY OF USDA
                      Defendants.                     )   RECORDS
                                                      )
                                                      )   Judge: Hon. Jon Stuart Scoles
                                                      )   Trial Date: October 5-8, 2015

       At trial, Plaintiffs Tracey Kuehl, Lisa Kuehl, John Braumann, Kristine Bell, Nancy

Harvey, and the Animal Legal Defense Fund (Plaintiffs) intend to introduce records obtained

from the United States Department of Agriculture (USDA) in response to requests under the

Freedom of Information Act. 5 U.S.C. § 552 et seq [hereinafter FOIA]. Plaintiffs intend to use

the records to demonstrate Defendants’ repeated and ongoing failures to comply with the Animal

Welfare Act 7 U.S.C. § 2131 (AWA) and accompanying regulations at the Cricket Hollow Zoo

in Manchester, Iowa. Plaintiffs hereby move in limine for a ruling that USDA records including

correspondence, settlement agreements, inspection and investigation reports, and complaints

written or filed by the USDA are self-authenticated, relevant, and admissible at trial.

                                           Introduction

       Plaintiffs allege that Defendants have violated and continue to violation Section 9 of the

Endangered Species Act, which makes it unlawful for any person to “take” any endangered

species “within the United States or the territorial seas.” 16 U.S.C. § 1538. The U.S. Fish and

Wildlife Service defines “take” to include harassing and harming endangered wildlife. Harass

and harm are separately defined at 50 C.F.R. § 17.3. The definition of harass includes an


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exception for generally accepted “animal husbandry practices that meet or exceed the minimum

standards for the facilities and care under the Animal Welfare Act.” 50 C.F.R. § 17.3.

Defendants have repeatedly claimed they qualify for this regulatory exemption and are therefore

not subject to ESA jurisdiction because they possess a USDA license to exhibit animals pursuant

to the AWA. But whether Defendants merely possess a license is irrelevant, as the exemption

requires a person to “meet or exceed the minimum standards for facilities and care” under the

AWA. For more than one decade, the USDA has documented instances of ongoing non-

compliance with the AWA at Defendants’ zoo in the form of correspondence, settlement

agreements, inspection and investigation reports, and formal complaints filed before the

Secretary of Agriculture. In fact, the USDA inspection reports are organized in a manner such

that each report addresses, point-by-point, citations for non-compliance with specific regulations

pertaining to animal husbandry at the facility being inspected. These documents, which Plaintiffs

obtained from the USDA in response to FOIA requests or from the USDA’s online FOIA

Reading Room, are self-authenticating, relevant, and admissible at trial. No testimony of a

record-keeper is required, and the records contain relevant facts. See Fed. R. Evid. (FRE) 401.

                                                     Argument

    1.        USDA records are self-authenticating.1

         Public documents—or copies of public documents—that have been signed and certified

by an officer or employee of the United States as well as “publications” issued by public

authorities are self-authenticating. FRE 902(2), (4), (5). That is they “require no extrinsic

evidence of authenticity in order to be admitted” at trial. Id. Moreover, in order to authenticate

evidence, a proponent must only “produce evidence sufficient to support a finding that the item
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  Defendants’ counsel has represented to Plaintiffs that Defendants would not object to USDA records on
authentication grounds. In the interests of preserving Plaintiffs’ rights on this issue, and judicial economy, Plaintiffs
include in their motion this argument on self-authentication.


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is what the proponent claims it is.” FRE 901(a). Either in response to a FOIA request or through

publication of documents on USDA’s online FOIA Reading Room, Plaintiffs have obtained

copies of USDA inspection and investigation reports, correspondence, settlement agreements,

and complaints regarding the Cricket Hollow Zoo. On June 3, 2015, Plaintiffs’ obtained certified

copies of those records marked as Exhibits 4 through 26 on Plaintiffs’ Trial Exhibit List pursuant

to USDA procedures for certification set forth at 7 CFR § 1.22. The Declaration of Jessica

Blome with USDA’s certification page is attached hereto as Exhibit A. On September 1, 2015,

Plaintiffs sent a secondary request for certification of the remaining USDA records marked on

Plaintiffs’ Trial Exhibit List as Plaintiffs’ Exhibits 2, 3, and 27 through 38. Plaintiffs expect to

have certification of those records at the time of trial, but even if Plaintiffs are unable to obtain

certification of those records, they still meet the requirements of FRE 902(2) and (5) because

they bear the signature of an officer or employee of the United States and were published by the

USDA on its website. Sams v. Geico Corp., 2002 WL 31975065 (D. Or. 2002) (declaration

stating declarant printed item off a website was adequate to self-authenticate); FRE 901(b)(4)

(“distinctive characteristics” can self-authenticate a document). When taken in light of the

circumstances surrounding how Plaintiffs obtained the USDA records, and in the interests of

judicial economy, this Court should rule in limine that the records are self-authenticating and

admissible at trial.

    2.      USDA records documenting Defendants’ non-compliance with the Animal

            Welfare Act are relevant pursuant to Federal Rule of Evidence 401.

         Evidence is relevant if it has “any tendency to make a fact more or less probable than it

would be without the evidence; and the fact is of consequence in determining the action.” FRE

401. The standard of probability under the rule of relevancy is “more probable than it would be



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without the evidence.” See FRE 401, Advisory Committee Notes, July 1, 2015. The U.S. Fish

and Wildlife Service itself suggests that AWA compliance status is a factor in determining

whether a person has violated the ESA harassment prohibition with regard to captive wildlife.

See 50 C.F.R. § 17.3 (providing an exemption from the harassment prohibition for persons

licensed under the AWA who “meet or exceed” the AWA). The AWA requires licensees to

submit to inspections by APHIS officials and veterinarians for the exact purpose of evaluating

compliance with the AWA, so the parties—and this Court—have access to a trove of official

documentation regarding Defendants’ past and current AWA compliance status. In other words,

whether Defendants have been cited for failing to meet or exceed the minimum requirements of

the Animal Welfare Act tends to make Plaintiffs’ allegations of harassment more or less probable

and is of material consequence to Plaintiffs’ claims. Without this evidence, Plaintiffs’ case is

severely prejudiced, and the Court will not have the most direct, relevant evidence before it when

it decides this case.

        Moreover, these records are all the more important in light of a recent decision from the

Eleventh Circuit. The Eleventh Circuit held that continuous possession of a Class C Exhibitor

license under the AWA, and the annual renewals that it entails, does not automatically indicate

that a facility is historically, currently, or continuously meeting the standards for animal

husbandry set forth in the AWA. See Animal Legal Defense Fund v. Vilsack, 789 F.3d 1206,

1222 (11th Cir. 2015). To be sure in ALDF v. Vilsack, ALDF argued that the USDA arbitrarily

and capriciously renewed a marine mammal exhibitor’s Class C Exhibitor License because the

exhibitor had been in chronic non-compliance with the AWA for several years. Id. USDA argued

that it did not have to consider whether a licensee had complied with the AWA before it could

annually renew the exhibitor’s license; rather, according to the USDA, the AWA gives the



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USDA authority to evaluate an exhibitor’s annual license renewal application for completeness

only. Id. (emphasis added). The Court agreed with the USDA, holding that “USDA’s

interpretation—which does not condition renewal on compliance with animal welfare standards

on the anniversary of the license issuance date—is a reasonable one. The USDA’s renewal

scheme is a sensible policy choice that balances the competing demands of due process and

animal welfare.” Id. at 1223. In addition, in this case Plaintiffs will introduce evidence that on

July 30, 2015, the USDA filed a complaint with the Secretary of Agriculture against Defendants

to initiate the administrative process required to sanction Defendants for AWA violations.

USDA’s remedy can include license revocation. In other words, under ALDF v. Vilsack, the fact

that Defendants currently have a valid license from the USDA under the AWA is meaningless

here. Defendants’ current license in no way indicates that they are meeting or exceeding the

standards set forth in the AWA. The USDA public records, however, have a great tendency to

make facts more or less probable than without this evidence, and these facts are very clearly facts

of consequence the Court will need in determining the outcome of this action. See FRE 401.

Thus, the USDA records that document Defendants’ non-compliance with the AWA are

therefore relevant and admissible.

       THEREFORE, Plaintiffs respectfully request that the Court issue an order in limine

ruling that USDA correspondence, settlement agreements, inspection and investigation reports,

and complaints written or filed by the USDA to document Defendants’ non-compliance with the

Animal Welfare Act are authenticated, relevant, and admissible at trial.




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Respectfully submitted this 4th day of
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